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U.S. Department of Justice

 

Um`lea.’ Sla).‘es Altorney
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The Si/vl`o J. Mr)l/o Builc/I`ng
One Sa/'m And)'e\¢' 's P/a:a
New York, New Yol'k 10007

May 4, 2017

 

At the sentencing conference on l\/lay 3, 2017, the Court calculated

that Mr. Blair had served "approximately 91 months" on relevant conduct.
See Tr. at 28; see also id. at 17. |n this letter, the Government notes

that the Court should, in the Judgment, adjust the sentence for the "96
months already served on relevant conduct." The Court hereby

ORDERS the parties to submit a joint letter, on or before l\/lay 12, 2017,
providing their understanding of how many months Mr. Blair has in fact
served on relevant conduct, and explaining that calculation SO ORDERED.

 

The Honorable Alison Ja Nathan
United States District Judge
Southern District ofNevv York
40 Foley Square

New York, NY 10007

 

 

 

Re: United States v. Jamal Blair, 82 15 Cr. 95 (AJN)
Dear Judge Nathan:

As directed by the Court, the Government conferred with Regional Counsel for the
Bureau of Prisons concerning the Juclgment for the defendant Jamal Blair. Counsel advises that
the Judgment should contain the following instructions, in sum and substance:

v The Court intends to impose a 150 month sentence, Which the Court is adjusting for the
96 months already served on relevant conduct pursuant to Section 5Gl .3(b) of the United
States Sentencing Guidelines

¢ The Court therefore imposes a sentence of 54 months to run concurrently With the
defendant’s undischarged term of imprisonment pursuant to Section 5Gl .3.

Respectfully submitted,

JOON H. KIM
Acting United States Attorney

    

By: /s/

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cc: Russell Neufeld, Esq.

